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11
12                            UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                     SOUTHERN DIVISION
15   In the Matter of the Seizure of               No. 8:19-mj-00173
16   ALL FUNDS IN BANK OF                          ORDER LIFTING SEAL OF SEIZURE
     AMERICA ACDOUNT NUMBER                        AFFIDAVIT AND WARRANT
17   3250 3526 3568
18
19         Based on the application of the United States, and for good cause shown, it is
20   hereby ORDERED that the seal imposed on the Application and Affidavit for Seizure
21   Warrant (“Application”) (Dkt. 1) and Seizure Warrant (Dkt. 2) in this case is lifted.
22
23
24    Dated: March 13, 2019
25
26                                             HON. KARE
                                                     KAREN EN E. SCOTT
                                               U it d States
                                               United St t M     i t t JJudge
                                                             Magistrate   d
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